                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

BRIAN TOBOYEK,

            Plaintiff ,
                                           JUDGMENT IN A CIVIL CASE
      v.
                                                 Case No. 22-cv-786-pp
WISCONSIN PUBLIC SERVICE
CORPORATION,
RYAN SOLLBERGER,
WEC ENERGY GROUP, INC.
         Defendants.


     Jury Verdict. This case came before the court for a trial by jury. The
parties have tried the issues, and the jury has rendered its verdict.

     Decision by Court. This case came before the court, the court has
decided the issues, and the court has rendered a decision.


      THE COURT ORDERS AND ADJUDGES that the defendant and this
case are DISMISSED WITH PREJUDICE for failure to state a claim upon
which relief can be granted.

      Approved and dated in Milwaukee, Wisconsin this 6th day of July, 2024.

                                           BY THE COURT:



                                           HON. PAMELA PEPPER
                                           Chief United States District Judge

                                           GINA M. COLLETTI
                                           Clerk of Court

                                           s/ Cary Biskupic
                                           (by) Deputy Clerk




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